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W;T}(F. \L § \l~l*,pl'll$ - l
Plamtiff,
V` No. 04-M1-075

JAMES sTAFFoRD, Ogl’ 3 0 9` Sgl ' 9

Defendant.

 

MOTION TO RESET REPORT DA'I`E

 

COMES NOW the Defendant, James StaiTord, through his Court appointed lawyer, Arthur
E. Quinn, and respectfully moves this Court to reset his report date presently set for Fn`day, August
12, 2005 ar 1;15 p.m.

Undersigned counsel respectfully shows the Court that he has a deposition scheduled for that
clay in St. Louis, Missouri. The deposition had been scheduled prior to this setting lBecause it
involves coordination with other attorneys, and travel arrangements, it would be extremely diHicult
to reset the deposition.

Undersigned counsel has consulted with Tony Arvin, Assistant U.S. Attorney and he has no
objection to the Defendant’s report date being reset.

Undersigned counsel would be glad to advance this report date to August 11 or, in the
alternative, reset the report date to August 15, 17, 18, or some other time convenient with the Court.

Undersigned counsel does not think it will be necessary for this Defendant’s report date to

be set with the rest of the co-defendants. , MOT|ON GRANTE/D

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Thls document entered on the docket sheet in compliance B RmcE BOU'E DoNALD

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WHEREFORE, the Defendant, J ames Stafford, respectfully request this report date be reset..

Respectidlly submitted,
THE B 0 GATIN LAW F[RM, PLC

 

 

Mernphis, Tennessee 3 8120
Telephone: (901) 767~1234

CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing has been sent via first class mail, postage prepaid

to Tony Arvin, Assistant U. S. Attomey, 8'h Floor, Federal Building, Memphis, TN 38103, on this the
day of August, 2004.

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Anhai~’E. Quin"a/ "

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STRIC COURT -WESTER DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 207 in
case 2:04-CR-20254 was distributed by faX, mail, or direct printing on

August 16, 2005 to the parties listed.

 

Tony R. Arvin

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1\/lemphis7 TN 38120

Honorable Bernice Donald
US DISTRICT COURT

